Official Form 1 (04/07) Case_07-10787-KG_ Doc 1.

United States Bankruptcy Court
forthe __ District of

Delaware

Eiled 06/11/07 Pane

 
 

 

Name of Debtor (if individual, enter Last, First, Middle):
Tweeter Home Entertainment Group, Inc.

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

Ali Other Names used by the Debtor in the last 8 years (include
married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years (include:
married, maiden, and trade names):

 

Last four digits of Soc. Sec./Complete EIN or other Tax ID. No. (if more than one,
state all); XX-XXXXXXX

Last four digits of Soc. Sec.AComplete EIN or other Tax ID. No. (if more
than one, state all):

 

Street Address of Debtor (No. & Street, City, and State):
40 Pequot Way
Canton, MA

ZIPCODE 02021 |

Street Address of Joint Debtor (No. & Street, City, and State):

| ZIPCODE

 

County of Residence or of the Principal Place of Business:

Norfolk

County of Residence or of the Principal Place of Business.

 

Mailing Address of Debtor (if different from street address):

 

| ZIPCODE

Mailing Address of Joint Debtor (if different from street address):

ZIPCODE

 

Location of Principal Assets of Business Debtor (if different from strect address above)

ZIPCODE

 

Type of Debtor
(Form of Organization)
(Check one box.)

Individual (includes Joint Debtors)

See Exhibit D on page 2 of this form.
Corporation (includes LLC and LLP)
Partnership

Other (If debtor is not one of the above entities,
check this box and state type of entity below.)

OOW O

 

Nature of Business
(Check one box.)

Health Care Business
Single Asset Real Estate as defined in
11 U.S.C. § 101 (51B)
Railroad
Stockbroker
Commodity Broker
Clearing Bank
Other
tail Business
Tax-Exempt Entity
(Check box, if applicable.)

OO

oI
|
CO
CO
i
Re

CL Debtor is a tax-exempt organization LC Debts are primarily consumer 4 Debts are
under Title 26 of the United States debts, defined in 11 U.S.C. primarily business]
Code (the Internal Revenue Code). § 101(8) as “incurred by an debts.

Chapter of Bankruptcy Code Under Which
the Petition is Filed (Check one box)

 

C1 Chapter 7 ([] ~— Chapter 15 Petition for
(C1 Chapter 9 Recognition of a Foreign
Dd Chapter 11 Main Proceeding
(7) Chapter 12 (Chapter 15 Petition for
DD Chapter 13 Recognition of a Foreign
Nonmain Proceeding
Nature of Debts
(Check one box)

 

individual primarily for a
personal, family, or house-
hold purpose.”

 

 

Filing Fee (Check one box)

(0d = Full Filing Fee attached. Check one box:
[1 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
C1 Filing Fee to be paid in installments (applicable to individuals only). Must attach | {K} Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
signed application for the court's consideration certifying that the debtor is .
unable to pay fee except in installments. Rule 1006(b). See Official Form 3 A. Cheek if: ;
[1 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to.
C1 Filing Fee waiver requested (applicable to chapter 7 individuals only). Must insiders or affiliates) are less than $2,190,000 million.

attach signed application for the court's consideration. See Official Form 3B.

Chapter 11 Debtors

Check all applicable boxes:

(1 Aplan is being filed with this petition.

LI Acceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 11 U.S.C. § 1126(b).

 

 

 

 

 

Statistical/Administrative Information THIS SPACE IS FOR COURT USE
Kl Debtor estimates that funds will be available for distribution to unsecured creditors. ONLY
oO Debtor estimates that, after ary exempt property is excluded and administrative
expenses paid, there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
1- 50- 100- 200- 1,000- 5,001- 10,001- 25,001- 50,001 Over
49 99 199 999 5,000 10,000 25,000 50,000 400,000 100,000
O Oo O C Cl O 0 bX O O
Estimated Assets
CL] $0to (J $10,000 to CD $100,000 to C1 $1 million to B&H More than $100 million
$10,000 $100,000 $1 million $100 million
Estimated Liabilities
DO $0to DL $50,000 to LD $100,000 to C1 $1 million to EJ More than $100 million
$50,000 $100,000 $1 million $100 million

 

 

 

 
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Voluntary Petition Name of Debtors):
(This page must be completed and filed in every case) Tweeter Home Entertainment Group, Inc.
Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
Location Case Number: Date Filed:
Where Filed:
Location Case Number: Date Filed:
Where Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
See Annex A
District: Relationship: Judge:
Exhibit A Exhibit B

(To be completed if debtor is an individual

whose debts are primarily consumer debts.)
1, the attorney for the petitioner named in the foregoing petition, declare that I
have informed the petitioner that [he or she] may proceed under chapter 7, 11,
12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter. I further certify that I have delivered to the
debtor the notice required by 11 U.S.C. § 342(b).

X

(To be completed if debtor is required to file periodic reports (¢.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)

_ Exhibit A is attached and made a part of this petition.

 

Signature of Attorney for Debtors) (Date)

 

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
(Yes, and Exhibit C is attached and made a part of this petition.
Nol.

 

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.}
(1 Exhibit D completed and signed by the debtor is attached and made a part of this petition. If this is a joint petition:

C1 Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box.)
ER Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

& There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

O Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
this District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Statement by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

O Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

oO Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
filing of the petition.

 

 

 

 

! The Debtor is not aware of what is meant by the phrase "imminent and identifiable harm" as used in the form. The Debtor does not believe it owns or possesses property that poses or is alleged to

pose a threat of such harm. The Debtor may own property that may be subject to investigation or remediation under environmental laws.
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Voluntary Petition
(This page must be completed and filed in every ease)

 

Name of Debtor(s):
Tweeter Home Entertainment Group, Inc.

 

Signatures

 

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is true
and correct,

[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] | am aware that I may proceed under chapter 7, 11, 12 or
13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

[If no attomey represents me and no bankruptcy petition preparer signs the petition] I
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

xX

 

Signature of Debtor

x

 

Signature of Joint Debtor

 

Telephone Number (If not represented by attorney)

 

Date

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is
true and correct, that I am the foreign representative of a debtor in a foreign
proceeding, and that I am authorized to file this petition.

(Check only one box.)

C] {request relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
(1 sPursuant to 11 U.S.C. § 1511, l request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is
attached.

x

 

(Signature of Foreign Representative)

 

(Printed Name of Foreign Representative)

 

Date

 

Signature of Attorney

x _/s/ Gregg M. Galardi
Signature of Attorney for Debtor(s)

Gregp M. Galardi
Printed Name of Attorney for Debtor(s)

Skadden, Arps, Slate, Meagher & Flom LLP

Firm Name

One Rodney Square
Address...

P.O. Box 636
Wilmington, DE 19899
302-651-3000

Telephone Number

June 11, 2007

Date

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1) | am a bankruptcy petition preparer as
defined in 1] U.S.C. § 110; (2) I prepared this document for compensation and
have provided the debtor with a copy of this document and the notices and
information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if
rules or

guidelines have been promulgated pursuant to il U.S.C. § 110(h) setting a
maximum fee for services chargeable by bankruptcy petition preparers, | have
given the debtor notice of the maximum amount before preparing any document
for filing for a debtor or accepting any fee from the debtor, as required in that
section. Official Form 19B is attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social Security number (If the bankruptcy petition preparer is not an individual,
state the Social Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 

 

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.
X _/s/ Gregory W, Hunt

Signature of Authorized Individual

Gregory W. Hunt

Printed Name of Authorized Individual

Senior Vice President and Chief Financial Officer

Title of Authorized Individual

June 11, 2007

Date

Address

 

 

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person,
or partner whose Social Security number is provided above.

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is not
an individual.

If more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for cach person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both, 11 ULS.C. § 110; 18 U.S.C. $ 156.

 

 

 
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Form BI, Exh.A (9/97) G Doci1 Filed 06/11/07 Page 4of15

Exhibit "A"
If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange
Commission pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under

chapter 11 of the Bankruptcy Code, this Exhibit "A" shall be completed and attached to the petition.

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

weer soe eww ew ee eee ee ewe ee eee xX
In re: : Chapter 11
TWEETER HOME ENTERTAINMENT : Case No. 07-___ (_)
GROUP, INC., :
et al., : Jointly Administered
Debtor, :
we ee ee ee eee et eee XK
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the
SEC file number is 0-24091.
2. The following unaudited financial data (a) is the latest publicly available information from Tweeter Home

Entertainment Group, Inc., (b) refers to assets and liabilities as of September 30, 2006 on a consolidated
basis, and (c) does not include off balance sheet obligations, such as operating leases. The Debtor does not
certify as to the accuracy of this information.

 

 

 

 

 

 

 

 

 

 

 

 

a. Total assets $258,573,353.
b. Total debts $190,417,285"
Approx. number of
holders
c. Debt securities held by more than 500 holders
d. Number of shares of preferred stock 10,000,000
authorized; none
issued
é. Number of shares of common stock 27,013,997 102 Recordholders
3. Brief description of debtor's business: Tweeter Home Entertainment Group, Inc. is a national specialty

consumer electronics retailer providing audio and video solutions for the home and mobile environment.

4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or
more of the voting securities of debtor:

None.

 

I This figure represents the last publicly filed financial information of the Debtors as reported in Tweeter
Home Entertainment Group, Inc.'s Form 10-K (Annual Report) filed December 21, 2006 for the Period
Ending September 30, 2006.

2 This figure represents the last publicly filed financial information of the Debtors as reported in Tweeter
Home Entertainment Group, Inc.'s Form 10-K (Annual Report) filed December 21, 2006 for the Period
Ending September 30, 2006, and does not include stockholders' equity.

 
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ANNEX A

On the date hereof, each of the affiliated entities listed below (including the debtor in this chapter 11
case) filed in this Court a petition for relief under chapter 11 of title 11 of the United States Code.
Contemporaneously with the filing of these petitions, these entities filed an application requesting that
the Court administratively consolidate for procedural purposes only and jointly administer their chapter
11 cases.

1. Sound Advice of Arizona, Inc.
2. New England Audio Co., Inc.
3. NEA Delaware, Inc.

4, Hillcrest High Fidelity, Inc.

5. Sound Advice, Inc.

6. Sumarc Electronics, Inc.

7. THEG USA, L.P.
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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re:

TWEETER HOME ENTERTAINMENT
GROUP, INC.,
etal,

Debtor.

Chapter 11

Case No. 07-__ (_)

Jointly Administered

CONSOLIDATED LIST OF CREDITORS HOLDING LARGEST UNSECURED CLAIMS

Set forth below is a list of creditors holding the 30 largest unsecured claims against Tweeter Home
Entertainment Group, Inc. ("Tweeter"), and its subsidiaries and affiliates as of approximately June 8, 2007. The list
has been prepared on a consolidated basis from the books and records of Tweeter and its subsidiaries and affiliates

that have contemporaneously commenced chapter 11 cases in this Court (collectively, the "Debtors"). The

information presented in the list below shall not constitute an admission by, nor is it binding on, the Debtors.’

The list is prepared in accordance with Fed. R, Bankr. P. 1007(d) for filing in this chapter 11 case. The
list does not include (1) persons who come within the definition of "insider" set forth in 11 U.S.C. § 101 or (2)
secured creditors unless the value of the collatera! is such that the unsecured deficiency places the creditor among
the holders of the largest unsecured claims.

 

 

 

 

 

(2) (3) (4) (5)
Cd) NAME, TELEPHONE NATURE Cc AMOUNT OF
NAME OF CREDITOR AND NUMBER AND COMPLETE OF CLAIM U CLAIM
COMPLETE MAILING ADDRESS MAILING ADDRESS (trade debt, D (if secured also
INCLUDING ZIP CODE INCLUDING ZIP CODE, OF bank loan, s state value of
EMPLOYEE, AGENT, government security)
DEPARTMENT OF CREDITOR contract, *
FAMILIAR WITH CLAIM etc.)
POLK AUDIO, INC P.O, BOX 826162 Trade $1,245,168.00
PHILA., PA 19182-6162
FAX: (800) 638-7276
SAP AMERICA INC P.O. BOX 7780-82 Trade $ 745,573.00

 

PHILA., PA 19182-4024
PH: (610) 661-1000
FAX: (610) 661-4020

 

 

 

 

 

 

 

3 The Debtors will file the schedules of assets and liabilities (the “Schedules”) in accordance with 11 U.S.C. § 521 and Fed. R,
Bankr. P. 1007. The information contained in the Schedules may differ from that set forth below. Furthermore, the Debtors have
not yet identified which of their largest unsecured claims, if any, are contingent, unliquidated, disputed and/or subject to setoff.
The Debtors reserve the right to identify any of their claims tisted in the Schedules as contingent, unliquidated, disputed and/or
subject to setoff as appropriate. Inclusion of a claim on this consolidated list is not an admission that the amounts are or are not
contingent, unliquidated, disputed and/or subject to setoff nor an admission that the amounts listed are owed by more than one of

the Debtors.

 

 
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(1)
NAME OF CREDITOR AND
COMPLETE MAILING ADDRESS
INCLUDING ZIP CODE

(2)

NAME, TELEPHONE
NUMBER AND COMPLETE
MAILING ADDRESS
INCLUDING ZIP CODE, OF
EMPLOYEE, AGENT,
DEPARTMENT OF CREDITOR
FAMILIAR WITH CLAIM

(3)
NATURE
OF CLAIM
(trade debt,
bank loan,
government
contract,
etc.)

nAgaas

(3)
AMOUNT OF
CLAIM
(if secured also
state value of
security)

 

ZURICH AMERICAN INSURANCE

8734 PAYSHPHERE CIRCLE
CHICAGO, IL 60674

PH: (800) 382-2150

FAX: (312) 496-9112

$ 743,294.00

 

AUDIOQUEST

2621 WHITE ROAD
IRVINE, CA 92614
FAX: (949) 585-0111

Trade

$ 536,981.00

 

SERVICE NET SOLUTION

650 MISSOURI AVENUE
JEFFERSONVILLE, IN 47130
ATTN: KENDALL BEAVEN
PH: 812) 258-4700

FAX: (812) 258-4765

Trade

$ 514,499.00

 

BOSE CORPORATION

525 WEST MONROE
P.O. BOX 93132
CHICAGO, IL 60661
PH: (508) 766-9286
FAX: (508) 766-9611

Trade

$ 472,410.00

 

OMNIMOUNT SYSTEMS

P.O. BOX 201570
DALLAS, TX 75320-1570
PH: (480) 829-8000

FAX: (480) 756-9000

Trade

$ 388,244.00

 

FLATIRON CAPITAL CORP

P.O. BOX 27802
NEWARK, NJ 07101-7802
PH: (303) 571-1711

FAX: (303) 352-0096

$ 364,816.00

 

SCOTT THOMAS CONSTRUCTION

ATTN: NATNL GENERAL
CONTRACTOR

201 PACKETS COURT
WILLIAMSBURG, VA 23185
PH: (757) 564-3455

FAX: (757) 564-3661

Trade

$ 346,633.00

 

UNIVERSAL REMOTE CONTROL

500 MAMARONECK AVE
HARRISON, NY 10528
PH: (914) 835-4484

FAX: (914) 835-4532

Trade

$ 333,513.00

 

DIRECTV

2230 EAST IMPERIAL
HIGHWAY

EL SEGUNDO, CA 90245
PH: (310) 535-5000

FAX: (310) 535-5225

Trade

$ 326,524.00

 

 

 

JL AUDIO

 

P.O, BOX 550022
TAMPA, FL 33655-0022
PH: (954) 624-0114
FAX: (954) 443-1104

 

Trade

 

 

$ 301,459.76

 

 

 

 
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(1)
NAME OF CREDITOR AND
COMPLETE MAILING ADDRESS
INCLUDING ZIP CODE

(2)

NAME, TELEPHONE
NUMBER AND COMPLETE
MAILING ADDRESS
INCLUDING ZIP CODE, OF
EMPLOYEE, AGENT,
DEPARTMENT OF CREDITOR
FAMILIAR WITH CLAIM

(3)
NATURE
OF CLAIM
(trade debt,
bank loan,
government
contract,
etc.)

“w~gacas

(3)
AMOUNT OF
CLAIM
Cif secured also
state value of
security)

 

MARTIN LOGAN

P.O. BOX 875712

KANSAS CITY, MO 64187-
5712

PH: (785) 749-0133

FAX: (785) 749-5320

Trade

$ 276,106.00

 

MITEK

1 MITEK PLAZA
WINSLOW, IL 61089
PH: (815) 367-3000
FAX: (815) 367-2709

Trade

$ 273,495.00

 

PIONEER ELECTRONICS

P.O, BOX 70566
CHICAGO, IL 60673-0566
ATTN: MARLENE

PH: (310) 952-2395

FAX: (310) 952-2923

Trade

$ 264,742.00

 

WFLD-TV

WFLD FOX TELEVISION
STATIONS

P.O. BOX 91427
CHICAGO, IL 60693

PH: (312) 565-5599

FAX: (312) 819-0421

Trade

$ 263,895.00

 

BLITZ MEDIA INC

P.O. BOX 847815
BOSTON, MA 02284-7815
PH: (781) 247-7100

FAX: (781) 247-7101

Trade

$ 225,020.00

 

AUDIO PLUS SERVICES

313 MARION

LE GARDEAU, QC J5Z 4W8
PH: (800) 663-9352

FAX: (866) 656-0686

Trade

$ 221,228.00

 

UNIVERSAL MILLENNIUM

LOCK BOX PO 845364
BOSTON, MA 02284-5364
PH: (781) 871-7744

FAX: (781) 878-2967

Trade

5 220,816.00

 

GARMIN INTERNATIONAL

1200 E 151ST STREET
OLATHE, KS 66062
PH: (913) 397-8200
FAX: (913) 397-8282

Trade

$ 211,303.00

 

WBZ TV

P.O. BOX 33089
NEWARK, NJ 07188-0089
PH: (617) 787-7050

FAX: (617) 787-5969

Trade

$ 208,789.00

 

 

 

PRICEWATERHOUSECOOPERS LLP

 

P.O. BOX 7247-8001
PHILA., PA 19170-8001
PH: (267) 330-3004
FAX:: (267) 330-4144

 

Trade

 

 

$ 206,279.00

 

 

 

 
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(1)
NAME OF CREDITOR AND
COMPLETE MAILING ADDRESS
INCLUDING ZIP CODE

(2)

NAME, TELEPHONE
NUMBER AND COMPLETE
MAILING ADDRESS
INCLUDING ZIP CODE, OF
EMPLOYEE, AGENT,
DEPARTMENT OF CREDITOR
FAMILIAR WITH CLAIM

(3)
NATURE
OF CLAIM
(trade debt,
bank loan,
government
contract,
etc.)

-_
b
—*

moana

(5)
AMOUNT OF
CLAIM
(if secured also
state value of
security)

 

COASTAL PACIFIC CONSTRUCTION

23121 LA CADENA
LAGUNA HILLS, CA 92653
PH: (949) 770-1555

FAX: (949) 951-4408

Trade

$ 205,675.00

 

MCM ELECTRONICS

404 § PIONEER BLVD
SPRINGBORO, OH 45066-0000
PH: (937) 434-0031

FAX: (937) 746-3206

Trade

$ 191,361.00

 

CNBC - NCC

P.O. BOX 3350
BOSTON, MA 02241
PH: (973) 780-1700

FAX: (212) 519-0099

Trade

$ 177,167.00

 

HARTE HANKS

P.O. BOX 911936
DALLAS, TX 75391-1936
PH: (978) 663-9955

FAX: (978) 436-2973

Trade

$ 172,936.00

 

THE ATLANTA JOURNAL-
CONSTITUTION

P.O. BOX 105375
ATLANTA, GA _ 30348-5375

Trade

$ 160,526.00

 

WUSA

4100 WISCONSON AVENUE
WASHINGTON, DC 20016
PH: (202) 895-5921

FAX: (202) 364-6163

Trade

$ 156,807.00

 

TIVO DIGITAL VIDEO R

2160 GOLD STREET
ALVISO. CA 95002
PH: (408) 519-9218

FAX: (408) 519-5331

Trade

$ 155,565.00

 

 

 

KDFW FOX 4

 

KDEW NW
COMMUNICATIONS OF
TEXAS INC

P.O. BOX 844824
DALLAS, TX 75284-4824
PH: (214) 720-4444

FAX: (214) 720-3263

 

Trade

 

 

$ 155,389.00

 

 

 

 
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DECLARATION REGARDING THE CONSOLIDATED LIST OF CREDITORS
HOLDING THE THIRTY LARGEST UNSECURED CLAIMS AGAINST THE DEBTORS

I, Gregory W. Hunt, as an authorized officer of each of the debtors in these chapter 11 cases, declare under
penalty of perjury that I have read the foregoing list and that it is true and correct as of June 8, 2007, to the best of
my knowledge, information and belief.

Date: June 11, 2007

Signature: _/s/ Gregory W. Hunt
Gregory W. Hunt

494505.08-Wilmington Server 1A - MSW
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OFFICER'S CERTIFICATE AS TO RESOLUTIONS
ADOPTED BY THE BOARD OF DIRECTORS
OF TWEETER HOME ENTERTAINMENT GROUP, INC.

The undersigned, Gregory W. Hunt, being the Chief Financial Officer of Tweeter
Home Entertainment Group, Inc., a Delaware corporation (the "Corporation"), in accordance
with the applicable provisions of the General Corporation Law of the State of Delaware and the
Bylaws of the Corporation, does hereby certify, in my capacity as such officer and not
individually, that the following resolutions were duly adopted by the Board of Directors of the
Corporation (the "Board") at a meeting of the Board held on June 10, 2007, and such resolutions
have not been amended or rescinded and are now in full force and effect:

RESOLVED that in the judgment of the Board of Directors of the Corporation it
is desirable and in the best interest of each of the Corporation, its creditors, shareholders and
other interested parties that a petition be filed by the Corporation seeking relief under the
provisions of chapter 11 of title 11, United States Code (the "Bankruptcy Code"), in which the
authority to operate as a debtor in possession will be sought, and the filing of such petition is
authorized hereby; and it is further

RESOLVED that the officers of the Corporation (each, an "Authorized Officer"
and collectively, the "Authorized Officers") be, and each of them hereby is, appointed by the
Board of Directors of the Corporation as an authorized signatory in connection with the chapter
11 proceedings authorized herein; and it is further

RESOLVED that the Authorized Officers be, and each of them hereby is,
authorized, directed and empowered, on behalf of and in the name of the Corporation, to execute,
verify and/or file, or cause to be filed and/or executed or verified (or direct others to do so on
their behalf as provided herein) all necessary documents, including, without limitation, all
petitions, affidavits, schedules, motions, lists, applications, pleadings and other papers, and in
that connection to employ and retain all assistance by legal counsel, accountants or other
professionals and to take any and all action which they deem necessary, proper or desirable in
connection with the chapter 11 case, including any and all action necessary, proper or desirable
in connection with obtaining debtor in possession financing, the continuation of store closing
sales and the pursuit of a sale of the Company, with a view to the successful prosecution of such
case; and it is further

RESOLVED that the law firm of Skadden, Arps, Slate, Meagher & Flom LLP,
and its affiliated law practice entities be, and hereby are, employed under a general retainer to
render legal services to, and to represent, the Corporation in connection with the chapter 11 case
and any other related matters in connection therewith, on such terms as any Authorized Officer
shall approve; and it is further
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RESOLVED that the law firm of Goulston & Storrs P.C. be, and hereby is,
employed under a general retainer as special corporate counsel for the Corporation in connection
with the chapter 11 case, on such terms as any Authorized Officer shall approve; and it is further

RESOLVED that the firm of FTI Consulting, Inc. be, and hereby is, employed as
restructuring and financial advisor for the Corporation in connection with the chapter 11 case, on
such terms as any Authorized Officer shall approve; and it is further

RESOLVED that the firm of Peter J. Solomon Company, L.P. and/or its affiliate
Peter J. Solomon Securities Company, LLC be, and hereby are, employed as investment banker
for the Company in the chapter 11 case; and it is further

RESOLVED that all acts lawfully done or actions lawfully taken by any
Authorized Officer to seek relief on behalf of the Corporation under chapter 11 of the
Bankruptcy Code, or in connection with the chapter 11 case, or any matter related thereto,
including in connection with (i) debtor in possession financing and (ii) continuation of store
closing sales, each as described to the Board be, and they hereby are, adopted, ratified, confirmed
and approved in all respects as the acts and deeds of the Corporation; and it is further

RESOLVED that the Corporation as debtor and debtor in possession under
chapter 11 of the Bankruptcy Code be, and it hereby is, authorized to enter into that certain
Senior Secured, Super-Priority Debtor-In-Possession Credit Agreement (the "Credit
Agreement"), among the Corporation, as a borrower, certain subsidiaries of the Corporation, as
borrowers, certain subsidiaries of the Corporation, as guarantors, the lenders party thereto,
General Electric Capital Corporation, as funding agent, and GE Capital Markets, Inc., as lead
arranger, in substantially the form provided or described to the Board of Directors of the
Corporation (with such final terms and provisions as the Authorized Officer executing the Credit
Agreement may approve), pursuant to which the borrowers will borrow funds (the
"Indebtedness") and the borrowers and the guarantors will grant security interests in and liens on
all or substantially all of their assets in connection with such borrowings and guarantees; and it is
further

RESOLVED that the Corporation, as debtor and debtor in possession under
chapter 11 of the Bankruptcy Code, be, and it hereby is, authorized to obtain the use of cash
collateral in such amounts as is reasonably necessary for the continuing conduct of the affairs of
the Corporation and certain of its subsidiaries; and it is further

RESOLVED that the Board of Directors of the Corporation has determined that
the Corporation will receive substantial direct and indirect benefits from the loans and other
financial accommodations to be made under the Credit Agreement to the Corporation and certain
of its subsidiaries; and it is further
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RESOLVED that the Authorized Officers be, and each of them hereby is,
authorized to negotiate, determine and approve for and on behalf of the Corporation as debtor
and debtor in possession, the terms and provisions of the Credit Agreement, the principal
amount, rate of interest and maturity of promissory notes to be executed by the Corporation, if
any, evidencing the Indebtedness (the "Promissory Notes") and such other documents,
agreements, instruments, financing statements, notices, undertakings, certificates or other
writings as may be required pursuant to the terms of the Credit Agreement, contemplated thereby
or in furtherance thereof; and it is further

RESOLVED that the Corporation is hereby authorized to pledge, mortgage,
hypothecate, encumber and grant a lien on or security interest in, any and all of its property, real
or personal, tangible or intangible, now or hereafter acquired, to secure its obligations under the
Loan Documents (as defined below), including, without limitation, pursuant to any security
agreement, pledge agreement and one or more deeds of trust or mortgages; and it is further

RESOLVED that the Authorized Officers be, and each of them hereby is,
authorized and empowered on behalf of the Corporation, as debtor and debtor in possession, to
cause to be prepared, to negotiate, execute and deliver, and to perform its obligations under (i)
the Credit Agreement, (ii) the Promissory Notes, if any, and (iii) such other documents,
agreements, instruments, financing statements, notices, undertakings, certificates and other
writings as may be required by, contemplated by or in furtherance of the Credit Agreement,
including but not limited to any fee letter, control agreement, guaranty, pledge agreement,
security agreement, letter of credit application, certificate, mortgage, other security instrument or
other document evidencing the obligations of the Corporation under the debtor in possession
financing (all of the foregoing documents, collectively, the "Loan Documents"), each containing
such provisions, terms, conditions, covenants, warranties, and representations as may be deemed
necessary or appropriate by the Authorized Officer so acting, and any amendments, restatements,
amendments and restatements, supplements or other modifications thereto, in each case with
such changes therein and additions thereto (substantial or otherwise) as shall be deemed
necessary, appropriate or advisable by any Authorized Officer executing the same on behalf of
the Corporation, the execution and delivery thereof by such Authorized Officer to be conclusive
evidence of such approval by them; and it is further

RESOLVED that the Corporation is hereby authorized to enter into and perform
its obligations under one or more pledge agreements, including amendments, restatements,
amendments and restatements, supplements and other modifications thereto, pursuant to the
terms of which the Corporation will pledge to an agent or agents for the benefit of the lenders
and other secured creditors under the Credit Agreement and the other Loan Documents certain of
the capital stock and other equity interests owned by the Corporation from time to time to secure
the payment and performance of the obligations of the Corporation and certain subsidiaries of the
Corporation under the Credit Agreement and the other Loan Documents; and it is further

RESOLVED that the Authorized Officers be, and each of them hereby is,
authorized to establish, facilitate or comply with the terms and conditions of the Loan

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Documents as the same may be amended from time to time, and to do and perform, or cause to
be done and performed, all acts, deeds and things, in the name and on behalf of the Corporation
or otherwise as such Authorized Officer may deem necessary or appropriate; and it is further

RESOLVED that the Authorized Officers be, and each of them hereby is,
authorized and empowered, in the name and on behalf of the Corporation, to take all such actions
to obtain any authorizations, consents, waivers or approvals of any third party that such
Authorized Officers deem necessary, appropriate or advisable to effect the transactions
contemplated by these resolutions, and such Authorized Officers may execute and deliver or
cause to be delivered such agreements and other documents and may take all such other actions
as such Authorized Officer deems necessary or advisable to effect this resolution; and it is
further

RESOLVED that the Authorized Officers be, and each of them hereby is,
authorized and empowered for and in the name and on behalf of the Corporation to amend,
supplement or otherwise modify from time to time the terms of any documents, agreements,
instruments, financing statements, notices, undertakings, certificates or other writings referred to
in the foregoing resolutions; and it is further

RESOLVED that all instruments, agreements, certificates, consents, waivers or
other documents heretofore executed and delivered (or caused to be executed and delivered) and
all acts lawfully done or actions lawfully taken by any Authorized Officer in connection with the
chapter 11 case, any debtor in possession financing, or any further action to seek relief on behalf
of the Corporation under chapter 11 of the Bankruptcy Code, or in connection with the chapter
11 case, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed and
approved in all respects as the acts and deeds of the Corporation; and it is further

RESOLVED that the Authorized Officers be, and each of them hereby is,
authorized, directed and empowered, in the name and on behalf of the Corporation, to take or
cause to be taken any and all such further action and to execute, deliver, verify and/or file, or
cause to be executed, delivered, verified and/or filed (or direct others to do so on its behalf as
provided herein) all such further documents, agreements, instruments, financing statements,
notices, undertakings, certificates and other writings, and to incur all such fees and expenses as
in their judgment shall be necessary, appropriate or advisable in the good faith judgment of such
Authorized Officer to effectuate the purpose and intent of any and all of the foregoing
resolutions; and it is further

RESOLVED that the Authorized Officers be, and each of them hereby is,
authorized, directed and empowered, in the name and for and on behalf of the Corporation, to
pay and direct the payment of all fees and expenses incurred in connection with the transactions
contemplated by these resolutions; and it is further
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RESOLVED that all actions previously taken by any Authorized Officer or
counsel with respect to the matters contemplated by these resolutions, including but not limited
to any debtor in possession financing, are hereby adopted, ratified, confirmed and approved in all
respects as the acts and deeds of the Corporation.

IN WITNESS WHEREOF, the undersigned has duly executed this Certificate as
of the date first above written.

By:_/s/ Gregory W. Hunt
Gregory W. Hunt
Chief Financial Officer

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